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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

 COREY PERKINS,                                       )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )       No. 2:19-cv-00265-JPH-DLP
                                                      )
 ARAMARK Food Services, et al.                        )
                                                      )
                              Defendants.             )
                                                      )
                                                      )
 ROBERT BUGHER,                                       )
                                                      )
                              Interested Party.       )

                           ORDER ON PLAINTIFF'S OBJECTION
                               PURSUANT TO RULE 72(a)

        This matter is before the undersigned on plaintiff Corey Perkins' objection to two rulings

 issued by the Magistrate Judge. Dkt. 102.

        First, Mr. Perkins argues that the denial of his motion to compel on July 8, 2020, was

 erroneous and contrary to law. Specifically, he argues that the Magistrate Judge erred in finding

 that certain ACA audit reports were not in the custody and control of the Aramark defendants. Dkt.

 97. Although Mr. Perkins argues that an email referencing an "attached audit" proves that Aramark

 did have possession and control over the ACA audit, Aramark has explained that the audit

 referenced in the email is not the ACA audit. Dkt. 102-1, dkt. 108. Rather, the audit referenced is

 a 4 th Quarter IDOC 2018 audit. Dkt. 108 at 2. Aramark maintains its position that it does not have

 possession of the ACA audit/reports. The Court finds no error in the Magistrate Judge's ruling

 denying that portion of Mr. Perkins' motion to compel.




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        Second, Mr. Perkins argues that the Magistrate Judge lacked the authority to rescind on

 June 1, 2020, dkt. 85, the undersigned's December 20, 2019, order, dkt. 26, granting Mr. Perkins'

 motion to appoint Mike Ellis to take a deposition by written questions. When Mr. Perkins filed his

 motion to appoint officer to take deposition by written questions, dkt. 21, no objection was filed.

 After the motion was granted, Mr. Ellis objected to the appointment and the issue was discussed

 during a May 27, 2020, status conference. Dkt. 61, dkt. 83. The Court finds that the Magistrate

 Judge properly determined that Mr. Ellis' objection should be sustained. Dkt. 85. Moreover, the

 Court's prior ruling granting the appointment of Mr. Ellis is not a "dispositive" ruling as suggested

 by Mr. Perkins. Rather it was an ancillary ruling on a discovery matter, something magistrate

 judges have the authority to decide.

        In sum, the undersigned finds nothing in the Magistrate Judge's Order denying Mr. Perkins'

 motion to compel or rescission of the appointment of Mr. Ellis to be clearly erroneous or contrary

 to law. See Rule 72(a). Rather, the Court finds the orders accurate, well-reasoned, and supported

 by law. Mr. Perkins' objections filed pursuant to Rule 72(a), dkt. [102], are overruled.

 SO ORDERED.

 Date: 9/18/2020




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